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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

              v.                                                  19-CR-227-JLS

JOSEPH BONGIOVANNI, et al.

                             Defendant.



 SUPPLEMENTAL POST-HEARING MEMORANDUM OF LAW IN OPPOSITION
     TO MOTION TO SUPPRESS BORDER SEARCH OF A CELL PHONE

       The United States of America, by and through its attorneys, Trini E. Ross, United

States Attorney for the Western District of New York, and Corey R. Amundson, Chief of the

Public Integrity Section, Joseph M. Tripi, Brendan Cullinane, and David J. Rudroff, Assistant

United States Attorneys and Jordan Dickson, Trial Attorney, Public Integrity Section, of

counsel, hereby files this supplemental post-hearing brief as directed by the Court brief on the

issue of whether the Court should, under Fourth Amendment principles, suppress evidence

uncovered during a search of the defendant’s cell phone performed at a port of entry to the

United States. For the reasons articulated below, and any other points and authorities

articulated in prior briefings of this issue and at oral argument, the Court should deny the

defendant’s motion to suppress.



                                     INTRODUCTION

       The “touchstone of the Fourth Amendment is reasonableness,” which is evaluated “by

assessing, on the one hand, the degree to which [a search] intrudes upon an individual's

privacy and, on the other, the degree to which it is needed for the promotion of legitimate

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governmental interests.” United States v. Knights, 534 U.S. 112, 118–19 (2001) (internal

quotation marks and citation omitted). Searches at the international border, where “the

[g]overnment's interest in preventing the entry of unwanted persons and effects is at its

zenith,” United States v. Flores-Montano, 541 U.S. 149, 152 (2004), have long been held exempt

from the warrant requirement. Id. at 152–53. This exception derives from “the longstanding

right of the sovereign to protect itself,” as well as its authority to collect duties from those

entering the country. Id. (internal quotation marks and citation omitted).



       “Routine searches of the persons and effects of entrants are [thus] not subject to any

requirement of reasonable suspicion, probable cause, or warrant.” United States v. Montoya de

Hernandez, 473 U.S. 531, 538 (1985). Rather, routine “searches made at the border ... are

reasonable simply by virtue of the fact that they occur at the border,” United States v. Ramsey,

431 U.S. 606, 616 (1977), or its functional equivalent, see Almeida-Sanchez v. United States, 413

U.S. 266, 272–73 (1973) (noting that routine border searches “may in certain circumstances

take place not only at the border itself, but at its functional equivalents as well”); United States

v. Levy, 803 F.3d 120, 122 (2d Cir. 2015) (“It is well established that the Customs area of an

international airport is the functional equivalent of a border for purposes of the border search

doctrine.”).



       Here, law enforcement from different agencies and located in different parts of the

country, coordinated with one another by proactively sharing information about an individual

believed to be a corrupt and recently retired DEA agent. The retired DEA agent, defendant

Bongiovanni, was a target of a Transnational Organized Crime (TOC) investigation in the


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Western District of New York. This coordination was a common sense and prudent step by

law enforcement, which led to the routine border search of defendant Bongiovanni’s cell

phone during a secondary inspection at BWI airport as Bongiovanni was entering the United

States following travel to the Dominican Republic. As the Second Circuit has held, this type

of interagency coordination “is to be commended, not condemned.” United States v. Levy, 803

F.3d 120, 123 (2d Cir. 2015)



                          SUMMARY OF RELEVANT FACTS

       In this case, Customs and Border Protection (CBP) officers at BWI airport were given

advance notice that an individual under federal investigation was going to be traveling

through their port of entry. That individual was identified as Joseph Bongiovanni, and there

was information placed into the TECS database indicating that, according to information

developed by Homeland Security Investigations (HSI), Bongiovanni should be referred for

secondary inspection. In addition, prior to the search and Bongiovanni’s arrival at BWI, there

was an email sent from a CBP investigator working with HSI in Buffalo, New York

specifically notifying CBP at BWI Airport that Bongiovanni was part of a Transnational

Organized Crime (TOC) investigation. As a result, as detailed supra, while a suspicionless

search is permissible at the border, this was a situation where the requisite particularized

suspicion of Bongiovanni was supplied directly by fellow members of law enforcement to

CBP officers at BWI airport.



       After Bongiovanni was referred to secondary inspection, he and his wife turned over

their unlocked cell phones to CBP. After obtaining Bongiovanni’s phone, officers attempted


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to hook it up to a tool which could forensically extract the entirety of the phone, but the

forensic extraction tool did not work. As a result, the officers resorted to manually scrolling

through the contact and text message screens of the cell phone, and taking pictures of some

of the contacts and the screen where the “to and from” portions of text messages were located.

Notably, the photos of the text messages were not the full conversations, but consisted merely

of some of the text message screens (not the fully opened text messages). Fifteen minutes

after the cell phone search began, Bongiovanni and his wife’s phones were returned and they

made their connecting flight from BWI to Buffalo, New York.



       No content from Bongiovanni’s cell phone was forensically extracted, duplicated, or

analyzed. Had any such extraction or duplication occurred, it would have resulted in the

seizure of exponentially more information from Bongiovanni’s phone. As detailed supra, the

fact that some photographs of the contacts and text messages screens of Bongiovanni’s phone

were taken did not transform a routine search (described as a cursory or manual search in

CBP parlance) into a nonroutine (forensic) search. Additional facts will be described as

necessary below, and the government incorporates the facts set forth in its Post-Hearing Brief

(see Doc. No. 263) by reference as though set forth fully herein.



       Approximately two months after the border search, Bongiovanni’s cell phone was

seized by HSI and other agents executing a federal search warrant at his residence in this

District. The next day, the case agent obtained a search warrant to search Bongiovanni’s cell

phone. After the phone was seized, it was searched pursuant to a search warrant when, for




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the first time, it was forensically extracted (as opposed to the brief manual scroll through the

phone at the border at BWI airport).



                                        ARGUMENT

          I.      The Manual Search of Bongiovanni’s Cell Phone was Routine


       As numerous courts have observed, the precise line between what is routine and what

is not routine has not been clearly delineated. On the one hand, it has been held that

“[r]outine searches include those searches of outer clothing, luggage, a purse, wallet, pockets,

or shoes which, unlike strip searches, do not substantially infringe on a traveler's privacy

rights.” Tabbaa v. Chertoff, 509 F.3d 89, 98 (2d Cir. 2007) (citing United States v. Grotke, 702

F.2d 49, 51–52 (2d Cir.1983)). By contrast, “more invasive searches, like strip searches,

require reasonable suspicion.” Id. The Supreme Court has stated that “non-routine” searches

include “strip, body cavity, or involuntary x-ray searches.” Montoya de Hernandez, 473 U.S. at

541 n. 4. The determining factor is not how ordinary or commonplace a search is, but rather

“the level of intrusion into a person's privacy.” United States v. Irving, 452 F.3d 110, 123 (2d

Cir. 2006).



       In this case, there was a minimal level of intrusion into Bongiovanni’s privacy. The

cell phone search was conducted by manually scrolling through the phone while it was in

airplane mode and unable to access the internet or any third-party provider. Moreover, the

search lasted only 15 minutes, and resulted in limited information consisting of a partial

contact list and text-message contacts totaling 14 pages (see Govt. Ex. 1). The search




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conducted was brief, manual, and limited, that is, it was routine. The search was not a full

forensic search, which some courts have determined to be nonroutine.



       The type of manual cell phone search conducted in this case is akin to the search

conducted in this District as described in United States v. Young, No. 12-CR-00210-RJA-JJM,

2013 WL 885288 (W.D.N.Y. Jan. 16, 2013). In Young, during a border investigation, “[t]he

arresting officials seized three cell phones belonging to the defendant. One cell phone was

removed from his person and two from inside his truck. Sometime thereafter, in the absence

of consent, a search warrant or exigency, each of the cell phones was searched and evidence

was recovered from them.” Id. Further in Young, approximately one month later, United

States Magistrate Judge Jeremiah J. McCarthy signed search warrants authorizing the search

of the three phones.     The agent stated, “that he found the first cellular telephone on

defendant's person and he reviewed it, locating a text message.” Id. at 1. The opinion in Young

did not elaborate upon the precise extent of the cell phone searches at the border, or how the

searches were documented by law enforcement, but the government’s response in opposition

to the defendant’s motion to suppress described the cell phone search as follows:

       CBP Officers seized and searched two cellular telephones (one from YOUNG’s
       person and one from the glove compartment of the cab), and retrieved the text
       message referred to [ ], which stated: “Stegelski Ave, Dunkirk, NY 4/29 t:
       7163363660Del to Jacksonville, FL 05/01- 1pm $1500." CB 954-295-6256 Apr
       29, 9:12 am”.

See, Case 1:12-cr-00210-RJA-JJM, Doc. No. 27. Neither the opinion nor the government’s

filing stated whether or not the text message in Young was simply memorized by the agents

and included in a written report, transcribed verbatim, and/or photographed. However, the

opinion cited several cases for the proposition that “searches of a person’s luggage or personal


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belongings are routine searches[,]” and that “[s]earches of computers and electronic devices

are likewise considered routine searches that may be conducted in the absence of reasonable

suspicion.” Young, 2013 WL 885288, at *2 (collecting cases) (citations omitted).



       The level of privacy intrusion in Young, which involved a HSI agent manually scrolling

through cell phones at the border and documenting the text message contents in some way,

is no different than the level of intrusion to which Bongiovanni was subjected. Here, CBP

officers manually scrolled through Bongiovanni’s phone for about 15 minutes and

photographically documented a limited amount of information from the phone before

Bongiovanni and his family made their connecting flight to Buffalo, New York. See,

Irving, 452 F.3d at 123 (“the level of intrusion into a person's privacy is what determines

whether a border search is routine.”). The only difference between the search in Young and

the search conducted in this case is that this Court knows with certainty that the agents

manually looked at a very limited amount of Bongiovanni’s cell phone because they took

photos of exactly what they did.          In Young, Judge McCarthy, in a Report and

Recommendation adopted by the District Court, denied the defendant’s motion to suppress

the border search of the cell phones without a hearing. See also, United States v. Jenkins, No.

5:11-CR-0602 (GTS), 2013 WL 12204395, at *2 (N.D.N.Y. Dec. 12, 2013) (the court

determined that the search of a defendant's non-password-protected laptop and thumb drive

was both routine and cursory under the relevant law).



       In United States v. Hampe, 2007 WL 1192365 (D.Me. Apr.18, 2007), the court found

that a computer search at the border, which consisted of opening and perusing files with icons


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located on the computer's desktop, was routine and did not require reasonable suspicion. In

Hampe, the officer “did not engage in any kind of sophisticated search but he did click open a

couple of the icons he observed on the desktop.” Id. at *4. The court held that the search of

the icons on the computer desktop was routine because it “did not implicate any of the serious

concerns that would justify characterizing this particular search as ‘non-routine.’” Id. at *4.

The government submits that CBP officers scrolling through a limited amount of

Bongiovanni’s contacts, and some of the text message screens, in Bongiovanni’s phone (and

documenting what they did by taking photographs), is no more intrusive than searching an

Apple/Macintosh computer for pictures by clicking on icons on the computer’s desktop.



       In United States v. Bunty, the defendant was referred for a secondary inspection after

U.S. Customs and Border Protection agents compared the passenger manifest of his flight

with National Crime Information Center (“NCIC”) databases and determined that he had

been arrested in Lancaster County, Pennsylvania on child sexual abuse charges and recently

had pled guilty to corrupting the morals of a minor in that case. 617 F. Supp. 2d 359, 363

(E.D. Pa. 2008). During the secondary border inspection at the airport, federal agents

searched the defendant's luggage without his consent, and they discovered two laptop

computers, a digital camera, a cell phone that appeared to be capable of taking and storing

digital images, and a variety of compact electronic storage devices, including a floppy disk

and several compact discs, movie DVDs, and flash drives. Id. They also found a letter from

[defendant’s] Lancaster County Probation Officer giving him permission to travel to England

and the Probation Officer's business card, which revealed that the Probation Officer was

assigned to supervise sex offenders. Id. With respect to the floppy disk, agents inserted the


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disk into a government-owned computer, searched the six files contained on the disk, and

each file contained a digital image the agents believed to be child pornography. Id. Agents

allowed the defendant to leave the airport, but kept all of his computer equipment capable of

storing digital images. Id. at 363-64. A subsequent “forensic examination” of a flash drive

revealed the same six images the agents found on the floppy disk while searching at the

airport. Id. The Bunty court determined that the search, including the search of the floppy

disk and forensic search of the computer equipment, was a routine search and that reasonable

suspicion was not required. Id. at 365. 1



         In United States v. Ramirez, No. EP-18-CR-3530-PRM, 2019 WL 3502913, at *1 (W.D.

Tex. Aug. 1, 2019), in a case decided after the border search at issue here, the defendant

presented his United States passport card who scanned it into the computer. At that point,

the Treasury Enforcement Communication System (TECS)1, a computerized database,

generated a referral that alerted the officer that Defendant might have child pornography and

was possibly associated with the purchase of child pornography. Id. Specifically, the TECS

record indicated:

         SUBJ LINKED TO THE PURCHASE OF CHILD PORNOGRAPHY and
         IF ENCOUNTERED, REFER TO SECONDARY 2




1
    The Bunty court went on to explain that there was also reasonable suspicion. Id.
2
  As detailed infra, the TECS record in this case requested Bongiovanni to be referred for
secondary inspection, and an email sent from a member of the investigation specifically
identified Bongiovanni as a subject in a Transnational Organized Crime investigation being
conducted by Homeland Security Investigations in Buffalo, New York.


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Id. The TECS entry did not provide any additional information, and at that point the

searching officer was instructed to “go through” the cell phone, which the officer did and

observed what he believed to be child pornography. Id. Later, another agent executed a

search warrant on the phone and “performed a forensic examination of the cell phone,

revealing approximately 1,400 files containing child pornography […] [t]he forensic

examination involved plugging a device into the cell phone and applying forensic software.”

Id. at *4. Similar to this case, in Ramirez the government argued that the “cursory, manual”

search of the defendant's phone at the border was a routine border search requiring no

suspicion and/or, alternatively, that even if the search were not routine, the TECS referral

provided the reasonable suspicion to manually search the phone. Id. at *5. After reviewing

the current legal landscape, including cases from the Ninth, Fourth, and Eleventh Circuits,

the court in Ramirez observed:

       In sum, though some courts have declined to decide the precise level of
       suspicion required for the search of an electronic device at the border, the courts
       that have addressed the issue have not yet required more than reasonable
       suspicion for forensic searches of electronic devices. Meanwhile, the Court is not
       aware of a case requiring any suspicion for the manual search of an electronic
       device at the border.

Id. at *14 (emphasis added). Ramirez further observed that a routine border search requires

no justification, whereas a nonroutine search required particularized reasonable suspicion.

Id. at *15-16. Ramirez further avoided characterizing the search conducted as either routine

or nonroutine because, as will be discussed further infra, the TECS record, in part, provided

reasonable suspicion for the search and, the agents relied upon pre-Riley caselaw in good faith.

Id. (“because Riley left open the possibility that “other case-specific exceptions may still justify

a warrantless search of a particular phone,” it was reasonable for the agents to rely on the pre-



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Riley 3 case law that allowed warrantless border searches of electronic devices. Id. at 292

(quoting Riley, 134 S. Ct. at 2494)”).



         In United States v. Kolsuz, 890 F.3d 133 (4th Cir. 2018), the Fourth Circuit distinguished

between what is a routine and nonroutine search of a cell phone and held that reasonable

suspicion is required for a forensic search of a cell phone in the context of a border search.

Specifically, in Kolsuz, the defendant’s cell phone was searched twice and the court

distinguished between the first and second search of the cell phone as a “manual search” and

a “forensic search”, as follows:

         After transporting Kolsuz to a secondary inspection area, the officers
         conducted what would be the first of two searches of Kolsuz's iPhone 6 Plus.
         This search—often referred to as a “manual” search—involved using the
         iPhone's touch screen, which was not password protected, to scroll through
         Kolsuz's recent calls and text messages. The officers also confirmed through a
         records search that Kolsuz had no export license or pending application for a
         license. After an interview with a number of CBP officers, Kolsuz was arrested.
         At that point, CBP Special Agent Adam Coppolo initiated the second search
         of Kolsuz's phone, this one commonly known as a “forensic” search. Coppolo
         first transported the phone approximately four miles from Dulles to the
         Homeland Security Investigations office in Sterling, Virginia. There, Computer
         Forensic Agent Michael Del Vacchio attached the phone to a Cellebrite
         Physical Analyzer, which extracts data from electronic devices, and conducted
         an advanced logical file system extraction. The phone remained in airplane
         mode throughout, so the forensic examination did not reach data stored
         remotely—or “in the cloud”—and was instead limited to data stored on the
         phone itself. Even so, the data extraction process lasted for a full month, and
         yielded an 896–page report that included Kolsuz's personal contact lists,
         emails, messenger conversations, photographs, videos, calendar, web
         browsing history, and call logs, along with a history of Kolsuz's physical
         location down to precise GPS coordinates.
Kolsuz, 890 F.3d at 139 (emphasis added). While the Court in Kolsuz did not decide (because

the defendant did not challenge) the initial manual search of the cell phone, the Fourth


3
    Riley v. California, 134 S.Ct. 2473, 189 L.Ed.2d 430 (2014).
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Circuit’s opinion did not take any issue with the District Court’s decision characterizing a

“manual” search as routine and the later “forensic” search as nonroutine. Id. at 140-41. Here,

the search of Bongiovanni’s phone consisted of manually scrolling through the phone totaling

14 pages of photos (see Govt. Ex 1; see also T 120) and did not result in any data extraction

process whatsoever or, as in the second search in Kolsuz, did not result in “an 896–page report

that included [] personal contact lists, emails, messenger conversations, photographs, videos,

calendar, web browsing history, and call logs, along with a history of Kolsuz's physical

location down to precise GPS coordinates.” When the search in this case is compared to the

second “forensic” search of the phone in Kolsuz, the government submits that even the Fourth

Circuit in Kolsuz would likely characterize the search of Bongiovanni’s cell phone in this case

as routine. Indeed, the search of Bongiovanni’s phone, which involved scrolling through the

contact and text message screens, was similar to the first “manual” search in Kolsuz, and was

as rudimentary and basic as a search of a cell phone could be. 4




       In United States v. Almadaoji, No. 3:18-CR-158, 2021 WL 4786615 (S.D. Ohio Oct. 14,

2021), based upon [defendant’s] travels and answers during a six minute interview, the officer

gave [defendant] an “electronic tear sheet” which explained the Government's authority to

obtain and search phones. The officer further informed [defendant] that, unless he voluntarily

submitted to a search of his phone, the Government could detain it for a forensic examination.

The officer manually scrolled through the phone and did not hook up the phone to any

forensic evaluation equipment or download its contents. Id. at *2. Following the secondary



4
 There is no dispute between the parties that Bongiovanni’s Samsung cell phone at issue is a
smartphone capable of storing large amounts of data and information.
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screening, the officer returned the cell phone, permitted [defendant] to leave, prepared an

incident report [documenting observations from the phone], and forwarded the incident

report to the Joint Terrorism Task Force. Id. at *2-3. The Court held that “there is no doubt

the search of the [defendant’s] cell phone was a manual, routine search[,] […] [a]s such, no

warrant, no probable cause and no reasonable suspicion was required. The search fell squarely

within the scope of the Fourth Amendment's border search exception.” Id. at *5. The Court

continued:

         Even if the Court had found that the search of [the defendant’s] cell phone
         violated his Fourth Amendment rights, there would be no legal basis to exclude
         the evidence. At the very least, [the officer] had an objectively good faith belief
         that he was authorized to conduct a manual search of Defendant's cell phone.
         At the time of the search, the Supreme Court had held that routine border
         searches of persons and their belongings did not require reasonable suspicion,
         probable cause or a warrant. Montoya de Hernandez, 473 U.S. at 538, 105 S.Ct.
         3304. Moreover, even though the Supreme Court, in Riley, acknowledged the
         significant privacy interests associated with searches of cell phones and other
         electronic devices, that case did not limit the Government's authority to
         conduct manual searches of those devices at the border. See Laynes, 481 F.
         Supp. 3d at 665. 5 In addition, Cano, the Ninth Circuit case which limited a
         manual search of electronic devices to a search for digital contraband, had not
         yet been decided.6

Almadaoji, 2021 WL 4786615, at *6.


         Unlike the Ninth Circuit’s decision in Cano, discussed infra, which had not been

decided at the time of the search in this case, the Eleventh Circuit’s decision in United States

v. Touset, 890 F.3d 1227 (11th Cir. 2018) was decided over one-year prior to the search in this

case. In Touset, the Eleventh Circuit held that the Fourth Amendment does not require any



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 United States v. Laynes, 481 F. Supp. 3d 657, 659 (S.D. Ohio 2020), appeal dismissed, No. 20-
3968, 2020 WL 7382061 (6th Cir. Dec. 14, 2020).
6
    Similarly, Cano was decided months after the search at issue in this case.
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suspicion even for the forensic search of electronic devices at the border. “The Supreme Court

has never required reasonable suspicion for a search of property at the border, however non-

routine and intrusive[.]” Touset, 890 F.3d at 1233. Touset further stated, “we have isolated

three factors which contribute to the personal indignity endured by the person searched: (1)

physical contact between the searcher and the person searched; (2) exposure of intimate body

parts; and (3) use of force. These factors are irrelevant to searches of electronic devices. A

forensic search of an electronic device is not like a strip search or an x-ray; it does not require

border agents to touch a traveler’s body, to expose intimate body parts, or to use any physical

force against him. Although it may intrude on the privacy of the owner, a forensic search of

an electronic device is a search of property. And our precedents do not require suspicion for

intrusive searches of any property at the border.” Touset, 890 F.3d at 1234 (internal citation

omitted). Touset continued, “[S]imply put, we must apply the law and leave the task of

developing new rules for rapidly changing technologies to the branch most capable of

weighing the costs and benefits of doing so.” 890 F.3d at 1237. Here, the manual search of

Bongiovanni’s cell phone was routine. However, this Court should conclude, consistent with

the rationale in Touset, that neither a routine manual search, nor a nonroutine forensic search,

require any suspicion at the border. In the alternative, the Court should determine that a

routine search occurred in this case such that no level of suspicion was required, and that

merely taking photos of a limited amount of information did not convert a manual routine

search into a forensic nonroutine search.




       In United States v. Kamaldoss, Kamaldoss was directed to a secondary inspection upon

entry into the country at JFK Airport. 2022 WL 1200776, at *5 (E.D.N.Y. April 22, 2022).


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During the secondary inspection, he was directed to open his luggage and supply passwords

for his cell phone and laptop, and the devices were turned over to an HSI Computer forensic

agent who imaged them, using a forensic software program called Cellebrite, and data was

extracted from his phone before the devices were returned to him and he and his family were

permitted to leave. Id. In a footnote, the Court noted that imaging refers to the act of

“creat[ing] a digital copy of the hard drive that is identical to the original in every relevant

respect.” Id. at *5, n. 5. The District Court avoided the issue of deciding whether or not the

search was routine or not routine because “if reasonable suspicion of a border-related offense

was necessary, that standard was clearly met, and under the good faith exception, the search

was permissible even if more was required.” Id. at *9. In reaching its conclusion, Kamaldoss

noted that “[i]n the context of searches of electronic devices, this distinction between routine

and nonroutine searches is an area of evolving jurisprudence[;]” that “[n]either the Supreme

Court nor the Second Circuit has “addressed the issue of border searches of electronic

devices”[;] and that “[o]f the circuits that have addressed the issue, the Fourth and Ninth

Circuits stand alone in concluding that forensic searches of electronic devices,

which generally entail[ ] the connection of external equipment and/or the use of specialized

software, are nonroutine and thus require reasonable suspicion.” Id. at *10 (internal citations

and punctuation omitted). Here, it is undisputable that Bongiovanni’s cell phone was not

imaged at the border and, therefore, there is no binding or persuasive reason for this Court to

conclude that taking photos of some of the screens viewed by agents who manually scrolled

through the phone amounted to a nonroutine “forensic” search of the cell phone. The search

of Bongiovanni’s phone did not, as in Kamaldoss, create an image copy “identical to the

original in every respect.” See, id. at *5, n. 5. Indeed, both HSI SA Ryan and CBP Officer


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Kiplin Carter testified that a forensic search of Bongiovanni’s phone would have resulted in

“exponentially” more information from Bongiovanni’s cell phone than the 14 pages of photos

comprising Govt. Ex. 1. T 10, 17 (describing that an advanced search, as opposed to a manual

search, can extract “hidden files”), 18, 20, 25, 108-110. Accordingly, Kamaldoss supports the

government’s position that the defendant’s motion to suppress should be denied.




       Based upon the facts established at the hearing, the weight of the legal authority

described above, and in the government’s initial post-hearing briefing (see Doc. No. 263), this

Court should determine that the manual search of Bongiovanni’s cell phone was a routine

search and that no suspicion was required to search the phone at the border. Moreover, even

if reasonable suspicion was required, as described infra, officers had reasonable suspicion.

Furthermore, the officers relied in good faith upon the body of pre-Riley (and post-Riley)

caselaw justifying suspicionless searches of electronic devices at the border.



     II.    Even if the Court Considers the Search of Bongiovanni’s Cell Phone to be a
           Nonroutine Search Requiring Reasonable Suspicion- CBP Officers at BWI had
                                      Reasonable Suspicion

   A. Facts


       HSI Special Agent (SA) Curtis Ryan is supervisor in charge of agents responsible for

investigating Transnational Organized Crime and illegal exports. T 85. SA Ryan defined

“transnational organized crime” as “any organized group that is seeking to exploit the

Customs or Immigration laws of the United States,” namely the United States borders and




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the domestic crimes that flow from the border. T 7 85. Prior to becoming a supervisor, SA

Ryan was part of the Border Enforcement Security Task Force (BEST) responsible for

investigating drug smuggling. T 86-87. SA Ryan has extensive training and experience,

including significant training and experience in border search authority. T 87-90, 98-99. The

mission of HSI is to conduct criminal investigations involving illegal movement of people,

money, or contraband over the U.S. border, and they investigate a variety of associated

crimes. T 91. Transnational organized crime groups effect almost all of the programmatic

areas HSI enforces through its mission, including drug trafficking and drug smuggling. T 91-

92.



       U.S. Customs and Border Protection (CBP) is an agency within the Department of

Homeland Security that works closely with HSI, and CBP and HSI share information. T 99-

100. As of April 2019, SA Ryan had been involved investigating defendant Bongiovanni prior

to Bongiovanni’s [abrupt] retirement on January 31 or February 1, 2019. T 101. Due to his

active investigation, SA Ryan learned that Bongiovanni was scheduled for international travel

and was due to reenter the United States from the Dominican Republic at Baltimore

Washington International (BWI) Airport on April 23, 2019. T 101. Due to the ongoing

investigation, SA Ryan made efforts to flag Bongiovanni for a border search at BWI by

coordinating with CBP. T 102. Specifically, SA Ryan worked with CBP in Buffalo, New

York to coordinate with their CBP counterparts at BWI Airport to place a “one-day lookout”




7
 “T” refers to the transcript of the evidentiary hearing November 18, 2021, and as continued
on January 5, 2022, and is followed by the specific page number. The pages for each transcript
are numbered consecutively, and the transcripts were attached as Exhibit A to Doc. No. 263.
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on Bongiovanni, which flagged him to be referred for secondary inspection in the TECS

system. T 103-104; see also, Def. Ex. F.



       CBP Agent Thomas Mozg, who was working with HSI and SA Ryan, became

involved in the investigation of Bongiovanni in “late 2018, early 2019.” T 286-287. Agent

Mozg generated the TECS entry requesting that Bongiovanni be referred for secondary

inspection (see Def. Ex. F), and provided supplemental information to his CBP counterparts

at BWI advising them via email:

       [Bongiovanni] is part of an HSI Buffalo investigation (case: [number entered])
       involving Transnational Organized Crime. We are requesting discretionary
       dissemination of the request for a DOMEX extraction of the passenger’s cell
       phone. The subject is recently retired from Federal law enforcement.


T 298; Govt. Ex 34. The precise manner of the secondary inspection or search was left to the

discretion of CBP at BWI Airport. T 106, 297-298. Ultimately, some of the contacts and the

preview screen of some of the text messages (i.e., “it’s (sic) appears to just be a preview of the

first few words in each text”) was documented by CBP at BWI and emailed to HSI SA Ryan.

T 112-113; Govt. Ex. 1.



       The government submits that the reasonable inferences from the hearing testimony,

exhibits, and Second Superseding Indictment, establish that SA Ryan was aware of a lot about

Bongiovanni prior to the border search. Indeed, just a short time after the border search at

issue, in June 2019, SA Ryan asked Bongiovanni a bevy of questions based upon things knew

through the investigation independent of the border search. For example, SA Ryan asked

Bongiovanni about, among other things:


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 (i)      Bongiovanni’s DEA cell phone, which was wiped when he returned it
          to DEA upon retirement (see T 120-121, 149; see also, Count 1, Overt Act
          54);

 (ii)     DEA file materials located during the June 2019 search warrant at
          Bongiovanni’s residence (see T 121; see also, Govt. Ex. 11, at page 7
          (“Bongiovanni was asked why he had [….] Bongiovanni knew there was
          an investigation into [IOC] […] that’s why he kept the file.”);

 (iii)    Bongiovanni’s relationship with Peter Gerace and about Gerace’s
          family (see T 143-45; see also, Govt. Ex. 11, page 2);

 (iv)     Pharaoh’s Gentlemen’s Club (see T 145; see also, Govt. Ex. 11, page 2);

 (v)      Bongiovanni’s relationship with Anthony Gerace (who at the time was
          pending on an Indictment before this Court; see Criminal Complaint 19-
          mj-5007, and 19-CR-86) and others (see T 145-47; see also, Govt. Ex. 11,
          page 3);

 (vi)     Bongiovanni’s attendance at a Pharaoh’s golf tournament (see T 149; see
          also, Govt. Ex. 11, page 3);

 (vii)    Peter Gerace’s association with motorcycle gangs (see T 151; see also,
          Govt. Ex. 11, page 4);

 (viii)   whether Gerace tried to cooperate with the DEA (see T 151-52; see also,
          Govt. Ex. 11, page 4);

 (ix)     whether Gerace ever spoke to Bongiovanni about someone overdosing
          at Pharaoh’s (see T 152; see also, Govt. Ex. 11, page 4; Second
          Superseding Indictment, Count 2, Overt Act 26);

 (x)      Bongiovanni in a picture (acquired from a witness) with other males in
          Toronto, Canada (see T 174-76; see also, Govt. Ex. 11, page 6; Govt. Ex.
          14);

 (xi)     Bongiovanni and Gerace in a picture together at Lake Erie (see T 177-
          79; see also, Govt. Ex. 11, pages 6-7; Govt. Ex. 15);

 (xii)    names on the DEA file found in Bongiovanni’s basement, which is the
          file number referenced in the Second Superseding Indictment (see T 179-
          181; see also, Govt. Ex. 10; Govt. Ex. 11, page 7; Second Superseding
          Indictment, Count 1, Overt Act 33); and,




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       (xiii)   text messages between Bongiovanni and Gerace in internal DEA
                memos submitted by Bongiovanni to the DEA, which memos form the
                basis of Obstruction of Justice counts contained in the Second
                Superseding Indictment (see T 181-82; see also, Second Superseding
                Indictment, Count 1, Overt Act 29, 30, 31; and, Counts 6, 12, 13, and
                14) 8.

       The breadth and topics SA Ryan discussed with Bongiovanni on June 6, 2019,

regarding Peter Gerace, Pharaoh’s Gentleman’s Club, a drug overdose, motorcycle gangs,

individuals Bongiovanni was with in Toronto (CA), internal DEA memos, informants, etc.,

establishes that SA Ryan and others were in the midst of a robust investigation of Bongiovanni

and others before the border search at issue. The interview also demonstrates that SA Ryan

made a legitimate and common sense request for CBP conduct a secondary inspection of

Bongiovanni upon his reentry into the United States from the Dominican Republic. See Levy,

supra. Moreover, the breadth and topics discussed during Bongiovanni’s June 6, 2019,

interview are consistent with CBP Agent Thomas Mozg’s April 23, 2019, email to his CBP

counterparts at BWI Airport wherein he stated: “[Bongiovanni] is part of an HSI Buffalo

investigation (case: [number entered]) involving Transnational Organized Crime. We are

requesting discretionary dissemination of the request for a DOMEX extraction of the

passenger’s cell phone. The subject is recently retired from Federal law enforcement.” T 298;

Govt. Ex 34 (emphasis added). Furthermore, during oral argument on April 26, 2022, the




8
 The dates of the memos, as set forth in the Second Superseding Indictment, are in November
2018, December 2018, and January 2019- all of which pre-date the border search of
Bongiovanni’s phone.


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government proffered to the Court that the first witness(es) testified in the grand jury on

March 7, 2019, well-over a month before the border search at BWI Airport. T2 9 20.



     B. Analysis


        CBP officers at BWI Airport had reasonable suspicion to conduct a border search of

Bongiovanni because law enforcement officers investigating Bongiovanni specifically advised

them that Bongiovanni was part of an HSI investigation involving Transnational Organized

Crime. HSI SA Curtis Ryan defined Transnational Organized Crime during his testimony as

“any organized group that is seeking to exploit the Customs or Immigration laws of the

United States.” T 85. Moreover, the “tear sheet” that CBP Officer Carter provided the

defendant (see Govt. Ex. 33) advised the defendant that, “[T]his information may also be

made available to assist in border security and intelligence activities.       Domestic law

enforcement and enforcement of other crimes of transnational nature[.]” T 16. Thus, CBP

and HSI are fully familiar with the term “transnational” in the context of organized crime. 10

Accordingly, when CBP Officer Mozg notified CBP at BWI Airport that Bongiovanni was

part of an HSI investigation involving Transnational Organized Crime, that information

provided reasonable suspicion to conduct a search of Bongiovanni’s cell phone.




9
  “T2” is a reference to the transcript of oral argument, which occurred before this Court on
April 26, 2022, and the reference to T2 is followed by the specific page number of the
transcript.
10
  Undefined terms are given their ordinary meaning. The Merriam-Webster dictionary
defines “transnational” as “extending or going beyond national boundaries,” and defines
organized crime as “a group of professional criminals who work together as part of a powerful
and secret organization.” See www.merriam-webster.com/dictionary (visited May 10, 2022).
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       A reasonable suspicion inquiry simply considers, after taking into account all the facts

of a particular case, ‘whether the border official ha[d] a reasonable basis on which to conduct

the search.’ ” Irving, 452 F.3d at 124 (quoting United States v. Asbury, 586 F.2d 973, 975–76 (2d

Cir.1978)). Reasonable suspicion is a relatively low standard and border officials are afforded

deference due to their training and experience. See Montoya de Hernandez, 473 U.S. at 542, 105

S.Ct. 3304. The concept of reasonable suspicion is not “readily, or even usefully, reduced to

a neat set of legal rules.” Illinois v. Gates, 462 U.S. 213, 232 (1983). Reasonable suspicion must

be supported by more than a “mere hunch,” but “the likelihood of criminal activity need not

rise to the level required for probable cause, and it falls considerably short of satisfying the

preponderance of the evidence standard.” United States v. Arvizu, 534 U.S. 266, 274 (2002). A

reviewing court considers the totality of the circumstances. Arvizu, 534 U.S. at 273. In

assessing the reasonableness of the suspicion, officers may “draw on their own experience

and specialized training to make inferences from and deductions about the cumulative

information available to them that might well elude an untrained person.” Id. An agent’s

understanding of objective facts, even if mistaken, is the baseline for determining reasonable

suspicion. Cotterman, 709 F.3d at 968.



       In the border search context, courts have held that information contained in a law

enforcement database, or provided by other members of law enforcement, can be sufficient to

establish reasonable suspicion to conduct a border search. See, Ramirez, 2019 WL 3502913,

at *15 (W.D. Tex. Aug. 1, 2019) (finding reasonable suspicion to conduct a border search of

a cell phone where TECS record entry stated, “Subj linked to the purchase of child

pornography” and, “If encountered, refer to secondary, recommend media exam”); see also,


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Cotterman, 709 F.3d 952, 957–58 (referring Cotterman for secondary inspection and search

based upon a TECS hit indicating Cotterman had a 1992 conviction and indicating he was

potentially involved in child sex tourism); Bunty, 617 F. Supp. 2d at 363 (information in NCIC

database justified secondary inspection). 11



       In United States v. Levy, the Second Circuit upheld a border search, which involved

photocopying a notebook containing 18 pages of Levy’s handwritten notes on various topics

based upon information supplied by the DEA. 803 F.3d 120 (2d Cir. 2015). The Second

Circuit avoided the issue of determining whether the copying of the notebook was routine, or

not routine, because the search was supported by reasonable suspicion. Id. at 123. In

particular, the Second Circuit stated “that the CBP officer was entitled to rely on information

provided by the DEA task force to justify the border search in this case. Official interagency

collaboration, even (and perhaps especially) at the border, is to be commended, not

condemned. Whether a Customs official's reasonable suspicion arises entirely from her own

investigation or is prompted by another federal agency is irrelevant to the validity of

a border search, which we have held ‘does not depend on whether it is prompted by a criminal

investigative motive.’” Id. (citing United States v. Irving, 452 F.3d 110, 123 (2d

Cir.2006); see United States v. Schoor, 597 F.2d 1303, 1306 (9th Cir.1979) (Kennedy, J.) (“That

the search was made at the request of the DEA officers does not detract from its legitimacy.

Suspicion of customs officials is alone sufficient justification for a border search.”). Here,



 But see, United States v. Laynes, 481 F. Supp. 3d 657, 659 (S.D. Ohio 2020), appeal
11

dismissed, No. 20-3968, 2020 WL 7382061 (6th Cir. Dec. 14, 2020) (evidence suppressed
where TECS entry flagged defendant for secondary inspection, which led to officer search of
cell phone ).

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CBP relied upon information provided by HSI that Bongiovanni was part of a transnational

organized crime investigation, and it is immaterial that CBP’s reasonable suspicion was based

upon a request and information emanating from HSI.



       Generally, where the border search is related uncovering information about

transnational organized crime and/or conspiracy, courts have found reasonable suspicion.

United States v. Aigbekaen, 943 F.3d 713, 719 n.4 (4th Cir. 2019) (“law enforcement officers

may conduct a warrantless forensic search of a cell phone under the border search exception

where the officers possess sufficient individualized suspicion of transnational criminal

activity.”); United States v. Kolsuz, 890 F.3d 133, 144 (4th Cir. 2018), as amended (May 18,

2018) (“we agree with the government's bottom line: Because the forensic search of Kolsuz's

phone was conducted at least in part to uncover information about an ongoing transnational

crime—in particular, information about additional illegal firearms exports already underway,

by freight or in the custody of a coconspirator, see Kolsuz, 185 F.Supp.3d at 860—it “fits within

the core of the rationale” underlying the border search exception.”); United States v. Kamaldoss,

No. 19-CR-543 (ARR), 2022 WL 1200776, at *11 (E.D.N.Y. Apr. 22, 2022) (border agents

had a reasonable basis to believe that he was involved in a transnational conspiracy: the

government's investigation of this conspiracy had been ongoing for more than a year.).



       Here, SA Ryan and CBP Officer Mozg, who were investigating Bongiovanni, worked

together to place a TECS entry “one day lookout” on Bongiovanni requesting a secondary

inspection, and further supplemented the TECS entry by specifically advising CBP at BWI

Airport that Bongiovanni was a subject in a Transnational Organized Crime investigation.


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Accordingly, even if the Court were to deem the search of Bongiovanni’s phone to be

“nonroutine”, it was not based upon a mere hunch, but rather was based upon inter-agency

collaboration which established reasonable suspicion . See Levy, supra.



   C. Conclusion


       Based upon the foregoing, the search was routine and did not require any suspicion.

However, even if this Court were to find the search was nonroutine, it was based upon

reasonable suspicion. Specifically, CBP knew that Bongiovanni was being investigated by

HSI as part of an ongoing Transnational Organized Crime investigation and, their decision

to conduct a border search was warranted. Accordingly, the defendant’s motion to suppress

should be denied.



                       III.   The Search was Conducted in Good Faith


       The government previously briefed the good faith exception and inevitable discovery

doctrine as it applies to this case, and the government reincorporates its previous arguments

by reference as though set forth fully herein. See Doc. Nos. 87, 263. Even post-Riley, courts

have continued to rely upon the “robust body of pre-Riley caselaw that allowed warrantless

border searches of computers and cell phones.” United States v. Aguilar, 973 F.3d 445, 450

(5th Cir. 2020), cert. denied, 141 S. Ct. 1102, 208 L. Ed. 2d 550 (2021) (citations omitted).



       The principle case relied upon by the defendant in support of suppression, United States

v. Cano, 934 F.3d 1002 (9th Cir. 2019), was not decided until several months after

Bongiovanni’s phone was subjected to a border search at BWI airport. On August 16, 2019,

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the Ninth Circuit decided Cano, and the decision is an outlier in several respects. First, it is

the only case the government’s research has identified wherein a court determined that a

manual search of a cell phone, in which the agent recorded phone numbers found in the call

log and photographed two messages received after [the defendant] reached the border, was

determined to be unreasonable. Second, it is the only case limiting the nonroutine search of

a cell phone specifically to digital contraband. As a result, this Court should reject the logic

of Cano because it is not binding, unpersuasive, and because it was decided subsequent to the

search of Bongiovanni’s phone. Therefore, Cano should not impact upon this Court’s analysis

of the officers’ good faith actions in this case.



          Moreover, even if this Court evaluates the facts of Bongiovanni’s case in light of what

was then the leading case in the Ninth Circuit at the time of the search at issue, this Court

should have no hesitation finding that good faith existed. In United States v. Cotterman, the

Ninth Circuit considered a forensic search of a laptop at the border and stated: “the legitimacy

of the initial search of Cotterman's electronic devices at the border is not in doubt. [The

officer] turned on the devices and opened and viewed image files while the Cottermans waited

to enter the country. It was, in principle, akin to the search in Seljan, where we concluded that

a suspicionless cursory scan of a package in international transit was not unreasonable.” 709

F.3d 952, 1004 (9th Cir. 2013). Of import regarding the search in Cotterman, the Ninth Circuit

stated:

          The present case illustrates this unique aspect of electronic data. Agents found
          incriminating files in the unallocated space of Cotterman's laptop, the space
          where the computer stores files that the user ostensibly deleted and maintains
          other “deleted” files retrieved from web sites the user has visited.
          Notwithstanding the attempted erasure of material or the transient nature of a
          visit to a web site, computer forensic examination was able to restore the files.

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       It is as if a search of a person's suitcase could reveal not only what the bag
       contained on the current trip, but everything it had ever carried.

709 F.3d at 965. Here, the search of Bongiovanni’s phone had no possibility of searching and

seizing “unallocated space”, “deleted files”, or of restoring any such files and was more akin

to the initial search in Cotterman, which the Ninth Circuit stated, “we would be inclined to

conclude it was reasonable even without particularized suspicion.” 709 F.3d at 960-61.



       Based upon the foregoing and all prior arguments, the Court should find that the good

faith exception applies, see Doc. No. 263.


                                      CONCLUSION

       The defendant’s motion to suppress should be denied.


   DATED: Buffalo, New York, May 10, 2022.

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